               Case 1:17-cv-01230-JB-LF Document 9 Filed 12/21/17 Page 1 of 2




                               IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF NEW MEXICO

J. LEE,

                  Plaintiff,
                                                                         No. 1:17-cv-01230-GJF-LF
v.

THE UNIVERSITY OF NEW MEXICO,
a public university, THE BOARD OF
REGENTS OF THE UNIVERSITY OF
NEW MEXICO, individually and in their
official capacities, ROBERT G. FRANK,
individually and in his official capacity,
LAURA VELE BUCHS, individually and in
her official capacity, HEATHER COWAN,
individually and in her official capacity,
FRANCIE CORDOVA, individually and in
her official capacity, MEGAN CHIBANGA,
individually and in her official capacity,

                  Defendants.

                                DEFENDANTS’ MOTION TO DISMISS
                                PLAINTIFF’S DUE PROCESS CLAIMS

          COME NOW Defendants The University of New Mexico and The Board of Regents of the

University of New Mexico (collectively, “UNM”), and Robert G. Frank, Laura Vele Buchs, Heather

Cowan, Francie Cordova, and Megan Chibanga (collectively, “Individual Defendants”), pursuant to

Federal Rule of Civil Procedure 12(b)(6), and hereby seek dismissal of Plaintiff Jong Lee’s claims

for violation of due process as pled in the Complaint for Injunctive and Declaratory Relief and

Damages [Doc. 1-1]. As grounds therefor, Defendants state:

          1.      Plaintiff’s Section 1983 claim for damages against UNM and the Individual

Defendants in their official capacities fails because UNM is not a “person”;
            Case 1:17-cv-01230-JB-LF Document 9 Filed 12/21/17 Page 2 of 2




       2.        The Individual Defendants are entitled to qualified immunity from Plaintiff’s Section

1983 claim for damages;

       3.        Plaintiff’s claim for damages for violation of the New Mexico Constitution fails as a

matter of law;

       4.        Plaintiff’s claims for injunction and declaratory relief for alleged violations of due

process should be dismissed;

       5.        Plaintiff does not concur in this Motion to Dismiss; and

       6.        Defendants have contemporaneously filed their Memorandum Brief in Support of

Defendants’ Motion to Dismiss Plaintiff’s Due Process Claims.

       WHEREFORE, Defendants hereby respectfully request that the Court dismiss with

prejudice Plaintiff’s claims for violation of due process.

                                               SHEEHAN & SHEEHAN, P.A.
                                               Attorneys for Defendants
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                                                      /s/ Quentin Smith
                                               By: _________________________________________
                                                      Quentin Smith
                                                      Leah M. Stevens-Block

                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Defendants’ Motion to Dismiss
Plaintiff’s Due Process Claims was electronically filed using the CM/ECF system, which caused a
copy to be sent by email to Plaintiff’s counsel, Adams+Crow, P.C. (Arlyn Crow and Alana M. De
Young), on this 21st day of December, 2017.

                                               /s/ Quentin Smith
                                               __________________________________________
                                               Quentin Smith

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